21 F.3d 422NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Jesse EDMOND, Plaintiff Appellant,v.Parker EVATT;  John Trussel;  S.R. Witkowski;  Stephen A.Kamp;  George Dodkins;  Roena Williams;  James Sewell;  EmmaEllis;  Hilda Stevens;  Angela Lake;  Correctional OfficerMyer;  Steve Dirton;  Correctional Officer Valasquez;Correctional Officer Proctor, each in his or her individualand official capacity, Defendants Appellees.
    No. 94-6082.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 17, 1994.Decided April 6, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Anderson.  G. Ross Anderson, Jr., District Judge.  (CA-93-185)
      Jesse Edmond, appellant pro se.
      William Benson Darwin, Jr., Holcombe, Bomar, Cothran &amp; Gunn, P.A., Spartanburg, SC, for appellees.
      D.S.C.
      AFFIRMED.
      Before PHILLIPS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Edmond v. Evatt, No. CA-93-185 (D.S.C. Jan. 4, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    